Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 1 of 74 PageID: 1836




                        EXHIBIT 1
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 2 of 74 PageID: 1837
                                                                      Plaintiff's Exhibit




                                                                                            exhibitsticker.com
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                                                                           P-37
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 3 of 74 PageID: 1838
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 4 of 74 PageID: 1839
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 5 of 74 PageID: 1840
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 6 of 74 PageID: 1841
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 7 of 74 PageID: 1842




                        EXHIBIT 2
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 8 of 74 PageID: 1843




                                                    Plaintiff's Exhibit
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                                   Page 2 of 94                                                Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 9 of 74 PageID: 1844




                                   Page 3 of 94                     Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 10 of 74 PageID: 1845




                                    Page 4 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 11 of 74 PageID: 1846




                                    Page 5 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 12 of 74 PageID: 1847




                                    Page 6 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 13 of 74 PageID: 1848




                                    Page 7 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 14 of 74 PageID: 1849




                                    Page 8 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 15 of 74 PageID: 1850




                                    Page 9 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 16 of 74 PageID: 1851




                                   Page 10 of 94                    Pltf_MISC_00000109
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 17 of 74 PageID: 1852




                         EXHIBIT 3
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 18 of 74 PageID: 1853
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 19 of 74 PageID: 1854
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 20 of 74 PageID: 1855
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 21 of 74 PageID: 1856
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 22 of 74 PageID: 1857
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 23 of 74 PageID: 1858




                         EXHIBIT 4
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 24 of 74 PageID: 1859




                                                                       Plaintiff's Exhibit
                                                                                             exhibitsticker.com




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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 25 of 74 PageID: 1860
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 26 of 74 PageID: 1861




                         EXHIBIT 5
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 27 of 74 PageID: 1862




                                              Plaintiff's Exhibit
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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 28 of 74 PageID: 1863
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 29 of 74 PageID: 1864




                         EXHIBIT 6
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 30 of 74 PageID: 1865




                                           Plaintiff's Exhibit
                                                                 exhibitsticker.com




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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 31 of 74 PageID: 1866
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 32 of 74 PageID: 1867
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 33 of 74 PageID: 1868
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 34 of 74 PageID: 1869
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 35 of 74 PageID: 1870
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 36 of 74 PageID: 1871
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 37 of 74 PageID: 1872




                         EXHIBIT 7
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 38 of 74 PageID: 1873




                                                        Plaintiff's Exhibit
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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 39 of 74 PageID: 1874
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 40 of 74 PageID: 1875
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 41 of 74 PageID: 1876
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 42 of 74 PageID: 1877




                         EXHIBIT 8
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 43 of 74 PageID: 1878




                                               Plaintiff's Exhibit
                                                                     exhibitsticker.com




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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 44 of 74 PageID: 1879




                         EXHIBIT 9
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 45 of 74 PageID: 1880




                                                         Plaintiff's Exhibit
                                                                               exhibitsticker.com




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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 46 of 74 PageID: 1881
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 47 of 74 PageID: 1882
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 48 of 74 PageID: 1883
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 49 of 74 PageID: 1884
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 50 of 74 PageID: 1885
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 51 of 74 PageID: 1886




                       EXHIBIT 10
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 52 of 74 PageID: 1887




                                             Plaintiff's Exhibit
                                                                   exhibitsticker.com




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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 53 of 74 PageID: 1888
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 54 of 74 PageID: 1889
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 55 of 74 PageID: 1890
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 56 of 74 PageID: 1891
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 57 of 74 PageID: 1892




                       EXHIBIT 11
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 58 of 74 PageID: 1893




                                            Plaintiff's Exhibit
                                                                  exhibitsticker.com




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Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 59 of 74 PageID: 1894
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 60 of 74 PageID: 1895
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 61 of 74 PageID: 1896
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 62 of 74 PageID: 1897
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 63 of 74 PageID: 1898
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 64 of 74 PageID: 1899
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 65 of 74 PageID: 1900
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 66 of 74 PageID: 1901
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 67 of 74 PageID: 1902
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 68 of 74 PageID: 1903
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 69 of 74 PageID: 1904
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 70 of 74 PageID: 1905
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 71 of 74 PageID: 1906
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 72 of 74 PageID: 1907




                       EXHIBIT 12
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 73 of 74 PageID: 1908
Case 3:16-md-02738-MAS-RLS Document 132-1 Filed 03/16/17 Page 74 of 74 PageID: 1909
